7/14/2014
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                                                        T x D P S - E l e c t i o n Identification C e r t i f i c a t e (E1C)




                                                                                            DPS HOME                SERVICES        EMPLOYMENT         ABOUT US


                                                                                                                                                                        (Search DPS                "V




                                        Driver License Home
                                                                                                 Election Identification Certificate (EIC)
                                                                       Renew
                                                                                                  Espanol
                                                 Change Address
                                                       Office locations                           Texas voters must show a photo ID to vote
                                                                                                  in elections in Texas, unless you are exempt                         •....» *
                                                                                                  (see "Exemptions" below).                                       STATE OF TfeXAS
                                                                                                                                                          E L E C T I O N CERTIFICATE

                                                                                                  [f you do not have any of the following
                                                                                                                                                                  ecs12345678
                                                                                                  acceptable forms of ID, beginning June 26,
                                                                                                  2013, you may apply for an Election                                        Dillb af Birth
                                                                                                  Identification Certificate (EIC) at no charge.                            10/30/1986
                                                                                                  However, if you already have any of the                                   Expiration Date-
                                                                                                                                                                            10/30/2014
                                                                                                  following forms of ID, you are not eligible for
                                                                                                  an EIC:


                                                                                                            • Texas driver license—unexpired or
                                                                                                              expired no longer than 60 days at the       LASTNAMEWXXUyEXXUUEXXUUEXXtlU
                                                                                                                                                          ?:RSTMAMEMtDDLEr«MESUFFlXWXX
                                                                                                              time of voting

                                                                                                            > Texas personal identification card—           FOR ELECTION PURPOSES ONLY
                                                                                                                                                            CANNOT BEU5EOAS IDENTIFICATION
                                                                                                              unexpired or expired no longer than
                                                                                                              60 days at the time of voting

                                                                                                            • Texas concealed handgun license—unexpired or expired no longer than 60
                                                                                                              days at the time of voting

                                                                                                            .. U.S. passport book or card—unexpired or expired no longer than 60 days at
                                                                                                              the time of voting

                                                                                                            , U.S. Military identification with photo—unexpired or expired no longer than 60
                                                                                                              days at the time of voting

                                                                                                            • U.S. Citizenship Certificate or Certificate of Naturalization with photo

                                                                                                   Texans may also obtain an EIC at cortain locations in select counties throughout the
                                                                                                   state.


                                                                                                  Exemptions


                                                                                                   If you are voting by mail, you do not have to submit a photo ID.


                                                                                                   If you have a documented disability, you may apply at your county voter r^uKlrar *w
                                                                                                   a permanent exemption from the photo ID requirement. If approved, you will nor
                                                                                                   need a photo ID to vote.
        2:13-cv-193
                                                  exhibitsticker.com




        09/02/2014
                                                                                                      or mere information on the types of exemptions available, please visit your .cuui.iy
     DEF0204                                                                                       voter registrar or the Toxass Secretary of State.
                                                                                                                                                                         DEPOSITION
                                                                                                   How to A p p l y                                                           iiBrr            m

 l u t p : / / w w \ v .txUps. state. t \ . u s / d r i v e r l i c e n s e / c l e c t i o m c l . h t m                                                                                               !;3
                                                                                                                                                                  li   ""BooJkanan
                 Case 2:13-cv-00193 Document 736-4 Filed on 11/17/14 in TXSD Page 2 of 36
7/14/2014                                                                      T.xDPS - Election Identification Certificate ( E I C )

                                                            To apply for an EIC, visit a driver license office and complete an Application for Texas
                                                             Election Certificate (DL-14C) (PDF).



                                                            To qualify for an EIC, you must:


                                                                       B r i n g d o c u m e n t a t i o n to the office to verify your U.S. Citizenship

                                                                   + B r i n g d o c u m e n t a t i o n to the office to verify your Identity

                                                                    f Be eligible to vote in Texas ( B r i n g y o u r v a l i d v o t e r r e g i s t r a t i o n c a r d to
                                                                       t h e office, or submit a voter registration application through the Texas
                                                                       Department of Public Safety at the office)

                                                                   + Be a Texas resident

                                                                    » Be 17 years and 10 months or older


                                                             The information on the documents, such as name and date of birth, muse all match,
                                                             if the name is different on each document, then the individual must provide
                                                             documents I hat verify a legal name change. !f oilier information on the document
                                                             is different, speak with a Customer Service Representative for assistance.


                                                             If you are using a name other than what is on your birth certificate, (example:
                                                             married name); you will be required to show legal documentation of name change.
                                                             D o c u m e n t s m u s t be o r i g i n a l or c e r t i f i e d c o p y . No p h o t o c o p i e s c a n be
                                                             accepted.


                                                             Acceptable documents:


                                                                  1. Marriage license
                                                                  2. Divorce decree
                                                                  3. Court ordered name change

                                                            Expiration and U s e


                                                             An EIC Is valid for six years. There is no expiration date for certificates issued to
                                                             citizens 70 years of age or older.


                                                             Election Identification Certificates may only be used to vote and do not replace a
                                                             Texas driver license or ID card. In addition, an EIC will not be accepted to verify
                                                             identity when applying for a Texas driver license or ID card.


                                                             Statutory Authority


                                                             The Texas Election Code 63.001(b) requires a photo FD in order to vote in Texas.
                                                             The Texas Transportation Code. Chapter 5?1 A and 37 Texas Administration Code,
                                                             Sections 15.181.-185, authorizes DPS to issue Election Identification Certificates.




                                                Note: links to [PDF] files require a»m>b nmer or another PDF viewer.

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                                                    > i/nnnHiH* <w> IVwte ««rh Ois<wM:ies I Personnel Complaint Pincess (tsiianui) | Customer VAioRy |
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htlp://ww\v.txdps.state.tx.us/(irivurliceiise/electionid.htm                                                                                                                                   2/3
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                                                                                                                   ''oats
                              DRIVER LICENSE DIVISION
                                             Election Identification Certificates                      MM        ***
                                cannot be used for identification purposes other than voting.



                    County Locations Issuing Election Identification Certificates
        The following county locations will be issuing Election Identification Certificates (EICs) to Texans
             who do not already have an acceptable form of photo identification necessary to vote.

         For locations, dates and times that EICs will be available, contact any of the following counties:

Aransas County                             Cochran County                            Duval County
Judge C.B. "Burt" Mills Jr.                Cheryl Butler                             Ana Bazan
County Judge                               County Elections Administrator            Duval Elections Administrator
361-790-0100                               806-266-5181                              361-279-6278
judge@aransascounty.org                    cheryl.butler@co.cochran. tx.us           ana.bazan@co.duva I. tx.us


Archer County                               Coke County                              Edwards County
Barry Hargrove                              Mary Grim                                Olga Reyes
940-720-3233                                Coke County District & County Clerk      County Clerk
                                            325-453-2631                             830-683-2235
Austin County                               marylgclerk@juno.com                     clerk@swtexas.net
Marcus Pena
Austin Tax Assessor-Collector               Cottle County                            Falls County
979-865-8633                               Jan Irons                                 Betty McCormick
mpena@austin.com                            Cottle County District Clerk             512-832-7638
                                            806-492-3823
Bandera County                              cottledcclerk@gmail.com                  Fayette County
Judge Richard A. Evans                                                               Dina Bell
Bandera County Judge                        Crockett County                          Fayette Elections Administrator
830-796-3781                               Judge Fred Deaton                         979-968-6563
bandcojdg@indian-creek.net                  Crockett County Judge                    dina.bell@co.fayette.tx.us
                                            325-392-2965
Borden County                               Fred.deaton@co.crockett.tx.us            Franklin County
Sheriff Benny Allison                                                                Sheriff Ricky Jones
County Sheriff & Tax Assessor-Collector     Delta County                             County Sheriff
806-756-4415                                Judge Herb Brookshire                    903-537-4539
bordenco@poka.com                           County Judge                             rjones@co.franklin, tx.us
                                            903-395-4400
Caldwell County                             countyjudge@deltacountytx.com            Frio County
Pam Ohlendorf                                                                        Anna Alaniz
Caldwell Elections Administrator            Dimmit County                            Frio Tax Assessor-Collector
512-668-4347                                Mario Zuvia Garcia                       830-334-2152
pamela.ohlendorf@co.cald well, tx.us        Dimmit Clerk                             friotac@sbcglobal.net
                                            830-876-4209
Camp County                                 mzgarcia75@yahoo.com                     Garza County
Judge Thomas Cravey                                                                  Jeff Clark
County Judge                                                                         806-783-6610
903-856-3845
campcountyjudge@gmail.com
                                                                                                             continued
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Goliad County                        Document  736-4 Filed on 11/17/14 inMadison
                                      Karnes County                       TXSD County
                                                                                 Page 4 of 36
Michelle Garcia                       Judge Barbara N. Shaw                      Earl C. Parker Jr,
Tax Assessor-Collector                County Judge                               County Elections Administrator
361-645-3354                          830-780-3732                               936-349-0132
M.Garcia@goliadcountytx.gov           Barbara.shaw@co.karnes.tx.us               earl.parker@madisontx.org


Grimes County                         Kenedy County                              Marion County
Rebecca Duff                          Noel Pena                                  Karen G. Jones
Grimes Elections Administrator        County Elections Administrator             Marion Tax Assessor-Collector
936-873-4424                          361-294-5255                               903-665-3281
grimesvoters@yahoo.com         • •    nnpena@gmail.com                           karen.jones@co.marion.tx.us


Hall County                           Kent County                                McMullen County
Maribel C. Gonzales                   Sheriff William Scogin                     Angel Bostwick / Bessie Guerrero
Hall Tax Assessor-Collector           County Sheriff/Tax Assessor-Collector      McMullen Tax Assessor-Collector
806-259-2125                          806-237-3746                               361-274-3233 / 361-274-3638
hallcotac@gmail.com                   sheriff@kentcountysherifftx.com            taxofc@granderiver.net


Hansford County                       King County                                Menard County
Linda Cummings                        Judge Duane Daniel                         Timothy Royce Powell
Hansford Tax Assessor-Collector       County Judge                               Menard Tax Assessor-Collector
806-659-4120                          806-596-4411                               325-396-4523
linda.cummings@co.hansford.tx.us      kcjudge@caprock-spur.com                   menardtac@hotmail.com


Irion County                           Kinney County                             Newton County
Joyce Gray                             Dora Sandoval                             Sandra Kay Duckworth
Irion Tax Assessor-Collector           County Clerk                              Newton Clerk
325-835-7771                           830-563-2521                              409-379-5341
irioncounty@verizon.net                kclerk@hotmail.com                        duckworth75932@yahoo.com


Jack County                            LaSalle County                            Oldham County
Sharon Robinson                        Margarita Esqueda                         Linda Brown
Jack County Tax Assessor-Collector     La Salle County District & County Clerk   Oldham Tax Assessor-Collector
940-567- 2352                          830-483-5120                              806-267-2280
srobinson@jackcounty.org               Margie.esqueda@co.la-salle.tx.us          taxac@co.oldham. tx. us


Jackson County                         Lipscomb County                           Potter County
Judge Dennis Simons                    Kathy Fry                                 Randy Hale
County Judge                           Lipscomb Tax Assessor-Collector           806-356-3184
361-782-2352                           806-862-2911
d.simons@co.jackson,tx,us              taxac@amaonline.com                       Refugio County
                                                                                 Rachael B. Garcia
Jeff Davis County                      Loving County                             Refugio Elections Administrator
Judge George E. Grubb                  Sheriff Billy B. Hopper                   361-526-2151
County Judge                           County Sheriff & Tax Assessor-Collector rachael.garcia@co.refugio.tx.us
432-426-3968                           432-377-2411
                                       sheriff@co.loving, tx. us                 Robertson County
Jim Hogg County                                                                  Trudy R. Hancock
Norma Liza S, Hinojosa                 Lynn County                               Robertson Elections Administrator
Jim Hogg Tax Assessor-Collector        Donna Willis                              979-828-5726
361-527-3237                           Lynn Tax Assessor-Collector               thancock@valornet.com
jhctac@hotmail.com                     806-561-4112
                                       donna. willis@co.lynn.tx.us
                                                                                                           continued
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Sabine County                                  Sterling County
Karon Little                                   Ralph Sides
409-730-4008                                   County Judge
                                               325-378-3481
San Augustine County                           rsides@co.sterling.tx.us
Deborah K. Woods
San Augustine Elections Administrator          Terrell County
936-275-0989                                   Sheriff William "Clint" McDonald
deborah.woods@co.san-                          County Sheriff/Tax Assessor-Collector
augustine.tx.us                                432-345-2525
                                               terrell.co.tac@usa.com
San Jacinto County
Sherryl Evans                                  Throckmorton County
San Jacinto Elections Administrator            Dianna Moore
936-653-5804                                   Throckmorton County District Clerk
sherryl.evans@co.san-jacinto. tx.us            940-849-2501
                                              . throckclerk@gmail.com
San Saba County
Adriana Garcia                                 Trinity County
512-832-7634                                   Lindy Warren
                                               Trinity Tax Assessor-Collector
Schleicher County                              936-642-1637
Brenda Mayfield                                lindylou54@valornet.com
Schleicher Elections Administrator
325-853-2302                                   Upton County
electionadm_bkm@verizon.net                    Judge Bill Eyler
                                               County Judge
Shackelford County                             432-693-2321
Sheriff Edward "Ed" Miller                     ucjbill@hotmail.com
County Sheriff/Tax Assessor-Collector
325-762-2000                                   Willacy County
deputy2@                                       Hugo Leyva
shackelfordcountytexas.com                     Willacy Elections Administrator
                                               956-689-2387
Sherman County                                 elcions.administrator@
Valerie McAlister                              co,willacy.tx.us
Sherman Tax Assessor-Collector
806-366-2150
valerie. mcalister@co.sherman.tx. us


Somervell County
Judge Mike Ford
County Judge
254-897-2322
cojudge@co.somervell.tx.us




                  For more information regarding EICs, including eligibility guidelines and necessary documentation, visit
                                  http://www.dps.texas.gov/DriverLicense/electionlD.htm
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DL-14C (Rev. 3/14]



       APPLICATION FOR TEXAS ELECTION IDENTIFICATION CERTIFICATE                                                           FOR DEPARTMENT USE
                 FOR ELECTION PURPOSES ONLY; CANNOT BE USED AS AN IDENTIFICATION CARD                                             ONLY

NOTICE: All Information on this application must be completed in INK.                                                   ASSIGNED #

APPLICANT INFORMATION                                                        CONTACT INFORMATION
LAST NAME:                                                                    HOME PHONE:
FIRST NAME:                                                                  OTHER PHONE;           _____
MIDDLE NAME:                                                                  EMAIL:
SUFFIX:
MAIDEN NAME:                                                                 ADDRESS INFORMATION
                                                                              RESIDENCE ADDRESS:

DATE OF BIRTH (mm/dd/yyyy):
SSN:                                                                          CITY:                                                   STATE:
SEX: (Circle One)      Male             Female                                ZIP CODE:                     COUNTY:
EYE COLOR: _ _ _ _ _ _            HAIR COLOR:
RACE/ETHNICITY:                       (I) American Indian/Alaska Native       MAILING ADDRESS:
(A) Asian/Pacific Islander (B) Black (H) Hispanic (0) Other (W) White
HEIGHT: ft.                      in.
WEIGHT: lbs.                                                                  CITY:                                                   STATE:
UNITED STATES CITIZEN:          yes              no                           ZIP CODE:                     COUNTY:
If you are not a US citizen, you are not eligible for an Election Identification Certificate.
PLACE OF BIRTH: CITY:                                       COUNTY:                                STATE:                COUNTRY:
FATHER'S LAST NAME:                                                           MOTHER'S MAIDEN NAME:


INFORMATION REQUIRED FROM ALL APPLICANTS:
       YES    NO
1.     • •           Are you presenting a voter registration card today?
2.     • •           If not, are you registering to vote?
                     By providing my electronic signature, I understand the personal Information on my application form and my electronic signature
                     will be used for submitting my voter's registration application to the Texas Secretary of State's office. Wanting to register to vote,
                     I authorize the Department of Public Safety to transfer this information to the Texas Secretary of State.
3.     •      •      Do you have a Texas driver license or learner license (unexpired, or expired for no more than 60 days)?
4.     •      •      Do you have a Texas identification card (unexpired, or expired for no more than 60 days)?
5.     •      •      Oo you have a Texas concealed handgun license (unexpired, or expired for no more than 60 days)?
6.     •      •      Do you have a US passport (unexpired, or expired for no more than 60 days)?
7.     •      •      Do you have a US citizenship certificate that contains your photograph?
8.     •      •      Do you have a US military identification card that contains your photograph (unexpired, or expired for no more than 60 days)?

If answering "yes" to questions 3 through 8, you are not eligible to receive a Texas Election Identification Certificate,
                                                                    CERTIFICATION
I do solemnly swear, affirm, or certify that I am the person named herein and that the statements on this application are true and correct.

X                                                                                                      Date:

                                                                     VERIFICATION
Sworn to and subscribed before me this.               _ day of _



                                                                                       Notary Public in and for the State of Texas or Authorized Officer



                                                                           FRONT
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DL-14C (Rev. 3/14}




 Who IS eligible to apply for a Texas Election Identification Certificate?

 The department shall issue an election identification certificate upon request to persons who do not have one of the forms of
 acceptable photo identification listed above, and are:

      o     A registered voter in Texas and present a valid voter registration, or are eligible to'vote and submit a voter registration
            application to the Department,
      o     A United States citizen,
      o     A resident of Texas,
      o     At least 17 years and 10 months of age.


 Who is NOT eligible to apply for a Texas Election Identification Certificate?

 Any persons issued one of the following documents are not eligible for an election identification certificate:

      o     Texas driver license (includes occupational license with photograph) - unexpired, or expired less than 60 days,
      o     Texas identification card - unexpired, or expired less than 60 days,
      o     Texas concealed handgun license - unexpired, or expired less than 60 days,
      o     United States military identification card containing the person's photograph,
      o     United States passport - unexpired, or expired less than 60 days,
      o     United States citizenship certificate containing the person's photograph.
      o     Persons who are not United States citizens (i.e. permanent residents, asylees, refugees or temporary visitors).


 Section 521A of the Texas Transportation Code states that:
       o    An election identification certificate may not be used or accepted as a personal identification certificate,
       o    The department may not collect a fee for an election identification certificate or a duplicate election identification
            certificate issued under this section,
       o    The department may require each applicant for an original or renewal election identification certificate to furnish to
            the department proof of identification and US citizenship,
       o    The department may cancel and require surrender of an election identification certificate after determining that the
            holder was not entitled to, or gave incomplete information in the application for, the election identification certificate.


                                            SOCIAL SECURITY NUMBER COLLECTION DISCLOSURE
 Disclosure of your social security account number is mandatory for driver license applicants, but voluntary for Identification card and election identification
 certificate applicants. This information is solicited pursuant to 42 U.S.C 40S(c)(2)(C)(i), 42 U.S.C. 666(a)(13)(A); 49 C.F.R. 383.153, Texas Family Code Section
 231.302(c)(1) and Texas Transportation Code Sections 522.021 and 521.142.          The Department will use social security account number information for
 identification purposes and will only release the number to the Child Support Enforcement Division of the Attorney General's Office, the U.S Selective Service
 Administration, the Texas Secretary of State and the Health and Human Services Commission    for statutorily authorized purposes pursuant to Texas Transportation
 Code Section 521.044.




                                                                             BACK
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                        FOR A STEWPOT ID

        YOU MUST PROVIDE ONE OF THE FOLLOWING:



          1.    BIRTH C E R T I F I C A T E


          2.    SOCIAL SECURITY CARD


          3.    SOCIAL SECURITY PRINTOUT


          4.    G O V E R N M E N T ISSUED P H O T O ID


          5.    US P A S S P O R T


          6.    F O R M DD214


          7.    PUBLIC S C H O O L R E C O R D S


          8.    T E X A S ID/DL T E M P O R A R Y P R I N T O U T


          9.    INFANT B A P T I S M A L R E C O R D S


          10.   M A R R I A G E LICENSE


         11.    C E R T I F I C A T E FROM E D U C A T I O N A L I N S T I T U T I O N


         12.    VOTER REGISTRATION CARD


          13.   US I M M I G R A T I O N / N A T U R A L I Z A T I O N D O C U M E N T W I T H
                PHOTO
                                           Case 2:13-cv-00193 Document 736-4 Filed on 11/17/14 in TXSD Page 9 of 36
                                                                       Supporting Identification D t w ' .ents                                                                    J
Verify your identity                                                   « Social Security card
                                                                                                                                                 ' V .. Vr.'WWV,
     Photo IDs issued by government agencies are                       « Social Security NUMIDENT Record                                          } * I       I iVXiJlR* J   b^
     considered primary documents. Simply show one                     « Social Security NUMILITE Letter
     from the list below to prove youi identity:                       ' Forms W-2 or 10S9                                                       .' ' t t :
                                                                                                                                                              at   *              W
Primary identification Documents                                       * Temporary receipt for a Texas Driver License or ID
                                                                       • Expired Texas Driver License or ID (expired more than two years)
« Texas Driver License or photo ID within two years of expiration
                                                                       * Driver License or ID issued by another U.S. state, U.S. territory,
• Unexpired U.S. passport hook 01 passport card
                                                                         the District of Columbia, or Canadian province (unexpired or
« U.S. Citizenship Certificate 01 Certificate of Naturalization with     within two years of the expiration date)'
  identifiable photo (N-560. N-561. N-550, N55G, N-645, N-570
                                                                       • Original or certified copy of marriage license or divorce decree
  or N-578)
                                                                         (certified translation must accompany foreign language
• Unexpired U.S. military photo ID card for active duty, reserve,
                                                                         documents)
  or retired personnel
                                                                         Voter registration   card"
• Foreign passport, visa (valid or expired), and 1-94
                                                                         Pilot license*
• Unexpired DHS or USC1S photc ID
                                                                         Concealed handgun license*
Examples:                                                                Professional license issued by Texas state agency
  0 U.S. Citizen Identification Card (1-179 or 1-197)                    ID card issued by government agency*

   0 Valid Permanent Resident Card (1-551)                               Veteran's Administration card

   0 Temporary 1-551 (immigrant visa endorsed with adit                  School records

      stamp) and foreign passport                                        Hospital-issued birth record*

   0 Temporary Resident Alien Card (I-688)                               Consular document issued by a state or national government

   0 Employment Authorization Card (I-766)                               Texas Inmate ID card or similar form of ID issued by TDCJ

   0 U.S. Travel Document <l-327 or 1-571)                               Federal inmate ID card

   0 Advance Parole Document (1-5! 2 or 1-512L)                           TDCJ parole or mandatory release certificate

   0 I-94 stamped Sec. 208 Asyiee with photo                              Federal parole or release certificate

   0 I-94 stamped Sec. 207 Refugee with photo                             Medicare or Medicaid card

   0 Valid Refugee   Travel Letter with Photo and stamped by CBP          Military records

   0 American Indian Card (I-872)                                         Unexpired U.S. military dependent ID card

   0 Northern Mariana Card (I-873)                                        Selective Service card
                                                                         Immunization records*
If you cannot show a document from the Primai y
                                                                          Tribal membership card from federally-recognized tribe
Identification Documents Lsl, you can either present two
                                                                          Certificate of Degree of Indian Blood
documents tiom ilte Secondaiy Identification Documents
                                                                          Unexpired foreign passport
list that follows OR one document from the Secondary.,
Identification Documents list AND two docijiiients from the               Insurance policy (valid continuously for the past two years)
following Supporting Identification Documents list.                      Current Texas vehicle title or registration
                                                                       • Current Texas boat registration or title
Secondary identification Documents
® Original or certified copy of a birth certificate issued by the      * Document must be issued by an entity from a U.S. state,
  appropriate State Bureau of Vital Statistics or equivalent             U.S. territory, District of Columbia, or Canadian province.
  agencyfroma U.S. state, U.S. territory, the District of Columbia,
                                                                       Inat's it! If you siill have questions, ask one of our driver license
  or a Canadian province
                                                                       employees. They're here to help you!
• Original or certified copy cf the U.S. Dept. of State Certificate
  of Birth Abroad (issued to U.S. citizens born abroad) -                                          Texas Department of Public Safety
  Form FS-240, DS-1350. or FS-545
                                                                                                   5805 North Lamar Blvd.
- Original or certified copy of court aider with name and date
                                                                                                   Austin. Texas 78752-4422
  o! birth indicating an official change of name and/or gender
  from a U.S. state. U.S. territory, the District of Columbia, or a                                tvi7u.dps.texas.gov
  Canadian province                                                                                                               DL-57 (4/13)
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                                                                                                          Verify that you live in Texas                                             Verify your citizenship or lawful presence
                                                                                                               When applying for your first Texas driver license, you                    If you are a U.S. citizen, permanent resident, refugee, or
                                                                                                               must gather documents to prove you have lived in Texas                    asylee, you must provide one of the following to verify

                      V ?
                                                                                                               for st least 30 days. If you are surrendering a valid,                    your lawful presence in the United States:
         T     fr                          r        r                      r       ^ i 'IT
                                                                                                               unexpired driver license from another state, you must
                                                                                                                                                                                    » Birth Certificate issued by appropriate U.S. state, U.S. territory,
                     "M             "A-                      ifiHtit/sH rf. if-                                prove your Texas residency but the 30 day requirement is
                                                                                                                                                                                      or District of Columbia
                                                                                                               waived. Simply provide two of the following documents
                                                                                                                                                                                    • U.S. passport book or passport card
                                                                                                               that contain your name and Texas residential address:
                                                                                                                                                                                    • U.S. Citizenship Certificate or Certificate of Naturalization with
         f»l                 » t         * '        li                                    , ^ !•>*                                                                                    identifiable photo fN-560, N-561, N-550, or N-645)
                                                                                                          » Current deed, mortgage, monthly mortgage statement,
         _ "       ! | if                 f
                                                                 'si'itv           fr           <•          mortgage payment booklet, or a residential lease agreement              • U.S. Citizen Identification Card (1-179 or 1-197)
                                                                                                          • Valid, unexpired Texas voter registration card; motor vehicle           » U.S. Dept. of State Certificate of Birth Abroad (for U.S. citizens
             H'-" < V              '     * 1 i - -> H >(~v 3 r~< f , <*•                                    registration or title; boat registration or title                         born abroad)-Form FS-240, DS-1350, or FS-545
                                                                                                          » Concealed handgun license                                               • Permanent Resident Card (Form 1-551)
                                                                                                                                                                                    • Passport or I-94 stamped "Approved 1-551" or "Processed for 1-551"
                                                                                                          • Electric, water, natural gas, satellite television, cable television,
                                                                                                                                                                                    s I-766 Employment Authorization Card
                                                                                                            or non-cellular telephone statement dated within 90 days of the
                                                                                                            application date                                                        • 1-571 Refugee Travel Document
                                                                                                          • Selective Service card                                                  • I-94 stamped Sec. 208 Asylee or Sec. 207 Refuge
                                                                                                                                                                                    • I-327 Reentry Permit
                                                                                                          • Current homeowners or renters insurance policy or statement
                                                                                                                                                                                    • Machine Readable Immigrant Visa (with temp 1-551 language)
         O . ' . , ))              I      j *                                            1f-t , ,    j,   • Current automobile insurance policy or statement
                                                                                                                                                                                    • Temporary 1-551 Stamp (on Passport or I-94)
                                                                                                          • Texas high school, college, or university report card or transcript
         }>n(-s~/,                 - •i-v-il                                           i Jj^L , t > J;,                                                                             • DL2019-Exchange Visitor (J-1) Certificate
                                                             s                                              for the current school year
                                                                                                                                                                                    • 1-20 Nonimmigrant Student (F-1)
                                                                                                          • VV-2 or 1099 tax form from the current year
                                                                                                                                                                                    • Unexpired foreign passport
                                                                                                          • Checking, savings, investment account, or credit card state-
                                                                                                                                                                                    • Student documents with Sevis Number
                                                                                                            ments dated within 90 days of the application date
                                                                                                                                                                                    • Non-student documents with Alien Number
                                                                                                          • Mail from a federal, state, county, or city government agency
                                                                                                            dated within 90 days of the application date                            Verify your Social Security Number
                                                                                                          • Current automobile payment booklet
                                                                                                                                                                                         If you're applying for a driver license, it's mandatory
(•                     ""I,                   -V-       1        <4                * t                    • Current documents issued by the U.S. Military indicating
                                                                                                                                                                                         that you provide your Social Security Number (SSN).
                                                                                                            resicential address
                                                                                                                                                                                         If you're applying for an identification card, providing
                                                                                                          • TDCJ document indicating applicant's recent release or parole                your SSN is voluntary. To prove your SSN, please
                                                                                                          ® Medical or health card                                                       provide one of the following:
e -s|>         »            at-                          >        ™                s.                 ,   • Pre-printed paycheck or pay stub dated within 90 days of the
                                                                                                            application date                                                        • Social Security card or Social Security NUM1DENT Record
                                                                                                                                                                                    • Forms W-2 or 1099
                                                                                                          « Current Form DS2019,1-20, or a document issued by the United
t ,d f w & S f & f ^ f                                                                                      States Citizenship and Immigration Services                             • Pay stub (with preprinted name and SSN)
                                                                                                                                                                                    • Military ID (active or reserve personnel only)
                                                                                                          Us ry important:                                                          • Dependent Military ID (with SSN)
                                                                                                                                                                                    • DD-214
                                                                                                          Both documents cannot be from the same source. For example:
                                                                                                          you cannot show a water bill and a gas bill from the same                 » Veteran's administration card (with SSN preprinted)
                                       ! 1-4 t                                                                                                                                      » Peace officer's license (TCLEOSE)
                                                                                                          utility company. Nor can you show mail that is addressed to
                                                                                                          you with a forwarding label or address label on the envelope. If          • Pilot license (with SSN preprinted on card)
                                                                                                          you're unable to provide two documents from the list, you may             • Health Card, Medicare or Medicaid card (with SSN)
                                                                                                          submit aTexas residency affidavit from someone who resides                » Certified college/university transcript (with SSN)

          1    1        * ^              I1-'*       »C                        v   1
                                                                                          '"f             at the same address. Ask a driver license employee for affidavit
                                                                                                                                                                                    Pursuant to state and federal law, the department collects and
                                                                                                          recuirements.
                                                                                                                                                                                    uses SSN information for identification purposes and will only-
                                                                                                                                                                                    release the number to the Child Support Enforcement Division of
                                                                                                                                                                                    the Attorney General's Office, the US Selective Servi^ System, or
                                                                                                                                                                                    the Unclaimed Property Division of the Comptrolle       ice.
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                                                                      CITY OF DALLAS
                                                                  Bureau of Vital Statistics
                                                                   1500 Marilla, Room 1FN
                                                                     Dallas, Texas 75201
                                                                       (214) 670-3092

                                                                Identification Requirements

:ach registrant must present a valid primary form of photo identification alone with a completed application. If the registr
nable to present a valid primary form of photo identification, two valid secondary forms of identification maybe accepted, c
'hich bearing the registrant's signature.                   n
Valid Primary Forms of Identification:                       Secondary Forms of Identification:
      >      Driver's License                                           Social Security Card
             Federal/State/County/City ID                               Clinic or Health Insurance Card
      *      Student ID                                                 Hunting or Fishing License
      .      Military ID                                                Library Card
      >      Employment Badge or Card                                   School Records                                   \
      »      Stewpot ID                                                 DART Pass                               ^ter^sS-'
      °      Passport                                                   Marriage License
      •>     Alien Residence Card/VISA                                  Parole/Jail Release
             DART Reduced ID                                            Medicaid / Medicare
      »      Voter Registration (Mexico)                                Sam's Membership ID
                                                                        Debit Card w/ Picture
                                                                        Paperwork: Lease/Mortgage; Legal Documents; Tax Returns; Check Stubs
                                                                        Certificate of Nationalization
                                                                        Matricula

            At the discretion of the L o c a l Registrar, e t h e r forrrs of identification                     w h i c h v e r i f i e s the n a m e ,   address,
           jra of the registrant (e.g., utility bill, t e l e p h o n e bill, etc) m a y b e a c c a p t s d .




e p l a c e m e n t Social Security Card: If client does not have Valid TX ID or P L or Unexpired US Passport                                                     I
 US M i l i t a r y ID                 '                        * M a r r i a g e Record (certified copy)                                                         j
 Certificate of Naturalization                                  * M e d i c a l Record (Clinic, Doctor, Hospital w / n a m e & D O B )                            j
 Certificate of US Citizenship                                 '*Current Health Insurance/Medicaid Card ( n a m e , photo or D O B )                              '
 US G o v e r n m e n t E m p l o y e e ID                      *Life Insurance Policy                                                                            I
Employee ID/Badge w i t h n a m e & photo or DOB                            *Current School ID or School R e c o r d (certified copy)                             i
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                          Office of C o m m u n i t y Planning and D e v e l o p m e n t ^        W,1J. a\
                               Office of Special      Needs Assistance Programs          \ | ! j;L
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Introduction

Housing Programs for the Chronically H o m e l e s s ..

How to Use this Guide

Technical Guidance
  Understanding the Chronic Homeless Definition
  Qualifying Persons with Fluctuating Status
  Understanding Special Circumstances
  Collecting Necessary Documentation

Templates                                                           1
   Case 2:13-cv-00193 Document 736-4 Filed on 11/17/14 in TXSD Page 15 of 36
     Technical Guidance: Understandiiig                            the Chronic Homeless Definition                            (cent,)




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Technical Guidance: Understandiiig   the Chronic Homeless Definition   (cent,)



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                                                          Office of Special Needs Assistance Programs
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Templates
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 Technical Guidance: Understanding   the Chronic Homeless Definition (cont.J




     Understanding the Chronic Homeless Definition

     1.   What is the Federal government's        definition   of a chronically   homeless      person?

          H U D adopted the Federal definition which defines a chronically homeless person as
          "either ( I ) an unaccompanied homeless individual with a disabling condition who
          has been continuously homeless for a year or more, OR (2) an unaccompanied
          individual with a disabling condition who has had at least four episodes of
          homelessness in the past three years." This definition is adopted by 11UD from a
          federal standard that was arrived upon through collective decision making by a
          team of federal agencies including HUD, the U.S. Department of Labor, the U.S.
          Department of Health and Human Services, the U.S. Department of Veterans
          Affairs, and the U.S. Interagency Council on Homelessness.


     2.   What is meant by "homeless       " in the definition   of chronically     homeless?

          In its definition of a chronically homeless person, MUD defines the term
          "homeless" as "a person sleeping in a place not meant for human habitation (e.g.
          living on the streets, for example) OR living in a homeless emergency shelter."

     3.   Does a homeless person who is applying to our program need to satisfy both of the
          time framed criteria, described above in question # /, that define an individual as
          chronical ly horn el ess ?

          No. The homeless person must meet only one or the other of the two time framed
          criteria that make up the definition.

     4. If a homeless person applying for assistance was housed in various     sellings
        between episodes of homelessness,  could they qualify for  assistance?

          Yes. An individual qualifying under the second criteria of the definition need not
          have moved between conventional housing and homelessness. Applicants may have
          spent time anywhere in between episodes of homelessness that could include
          medical settings, residential treatment programs, other kinds of institutions,
          transitional housing, supportive housing, and/or correctional institutions.

     5. If a homeless    person who is applying to our program has had four episodes                 of
        homelessness,     does it matter where they are when they seek our housing'.''

          Yes. As staled in question £2. the homeless person must be sleeping in a place not
          meant for human habitation (such as living on the street) or living in a homeless
          emergency shelter at the time of entry into the H U D housing for chronically



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    hnica/ Guidance: i'mlerstundiiig   the Chronic Homeless Definition     (cont.)



            homeless persons. For example, a qualified homeless person might have the
            following type of history in the last three years: (1) leaves housing for a homeless
            shelter, (2) moves in with a friend or family member and leaves again for a
            homeless emergency shelter, (3) goes to jail and is released to living on the street,
            (4) goes back to the friend or family member's house and leaves to move into a
            homeless emergency shelter. Importantly, this homeless person will enter the H U D
            housing program for chronically homeless persons from a state of homelessness
            (i.e. in a homeless emergency shelter) as is required.


       6.   What is mean! by an "episode       " of       homelessness?

            An episode of homelessness is "a separate, distinct, and sustained stay on the streets
            and/or in a homeless emergency shelter." I I U D requires that "a chronically
            homeless person must be unaccompanied and disabled during each episode."

       7.   What is meant   by an emergency           shelter?

            An emergency shelter is "any facility the primary purpose of which is to provide
            temporary or transitional shelter for the homeless in general or for specific
            populations of the homeless" (24 C F R Ch.V (4-1-05) 576.3). Although this
            definition includes the term transitional shelter, persons coming from transitional
            housing are not considered chronically homeless.

       H.   What is meant   by "disabling    condition      " in the chronically     homeless       definition

            A disabling condition is defined as "a diagnosable substance abuse disorder, a
            serious mental illness, developmental disability, or chronic physical illness or
            disability, including the co-occurrence of two or more of these conditions." In
            addition, "a disabling condition limits an individual's ability to work or perform one
            or more activities of daily living." (Questions and Answers: A Supplement    to the
            2006 Continuum of Care Homeless Assistance NOFA and Application-, p.7).

       9,   Can homeless people who are applying             to our program        be accompanied      by    children
            and can cot/pies cjtti/lify as chronically         homeless?

            No. The homeless person must be an "unaccompanied homeless person" which
            means an individual such as "a single homeless person who is alone and is nol part
            of a homeless family ami not accompanied by children."
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  Qualifying Persons with Fluctuating Status

  /.   Is it possible to direct certain homeless people, who have been qualified as
       chronically homeless, towards a short term stay in a facility providing        substance
       abuse and/or psychiatric     or medical treatment with the objective of stabilizing    them
       and increasing the likelihood of their success in permanent        housing?

       Yes. Under these or other similar circumstances, it is possible to direct qualified
       participants to short term treatment to precede housing placement. In general,
       H U D ' s chronically homeless initiatives and programs may not require that all
       clients participate in such interim treatment. However, on a case by case basis, if
       persons arc identified who would benefit from this service, it may be recommended
       io them as a first step. Participants who decline such interim placement would still
       proceed directly towards identifying permanent housing. Participants who comply
       with the recommendation are considered enrolled in the program while in treatment
       which may not exceed 90 days. Upon completion of treatment, the participant
       should move directly into a permanent housing unit.


  2.   If a qualified chronically homeless person is referred     to short term treatment, how
       do we reconcile HUD's requirement     that new clients    enter our program from a
       state of homelessness    ?

       A chronically homeless person, who chooses to start off participation in your
       program with a preliminary stay in short term treatment, would first be formally
       "entered" into the chronically homeless program prior to this placement. This
       participant would retain the status of having'"entered" into the program while in
       interim treatment.

  3.   If a qualified chronically homeless person applying to our program enters short
       term treatment, to what extent should trt' engage in the housing search and
       placement process for such an      individual?

       A participant who has been entered into your program and is temporarily in short
       term treatment should exit such a program directly into an identified housing unit to
       avoid the consequences of yet another episode of homelessness. Given this
       imperative, it may be necessary, in some cases, to hold a unit for a short period of
       time, not to exceed 90 days, to assure the participant's seamless transition from
       treatment to housing.

  4.   What if a homeless person who was chronically      homeless for one full year and has
       the documentation   to substantiate it, moved into a transitional housing    program'?
       Now that same person is applying for oar program of permanent        housing    targeted
       to the chronically homeless. Does this person     qualify?
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Technical Guidance: Qualifying Persons with Fluctuating Status (con/.)



         No. To be defined as chronically homeless, a person must be living on the street or
         in a homeless emergency shelter at the time of eligibility determination. The
         definition does not include those currently in transitional housing. Persons coming
         from transitional housing are not considered chronically homeless.

    5.   What if art individual was qualified as chronically homeless    and entered a different
         HUD-fiinded    permanent  housing program? Can that person      hold onto that
         chronically  homeless status and apply to our      program?

         No. An individual who enters other H U D funded permanent housing, as with
         transitional housing, is no longer considered chronically homeless.




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  Understanding Special Circumstances

  /.   Is it acceptable for a homeless person applying to our program to have been
       incarcerated in between episodes      ofhome/essness?

       Yes. A homeless person who experienced incarceration or repeated incarcerations
       in between four episodes of homelessness over three years could be eligible
       provided that the person was living on the street or in a homeless emergency shelter
       at the time he/she is being evaluated for intake.

  2. Can uv accept someone who is applying to enter our program directly from a
     correctional institution ?

       No. Clients must be homeless, as per H U D ' s definition, at the time they enter the
       program.

  J.   Can we accept someone who is applying to enter our program directly from a
       medical institution?

       No. Clients can not be in any kind of institution including medical facilities nor can
       they be in housing at the time they enter the program.

  4.   What if a chronically homeless person was hospitalized and then released to a
       temporary placement in a motel for medical reasons which made placement in
       conventional shelter unsafe for the person? Could the stay in the motel constitute an
       episode of homelessness'?

       If the medical institution could provide documentation that the motel was being
       used as a homeless emergency shelter for this person, this homeless person could be
       considered eligible if the other aspects of the homeless history were also
       documented.

  5, What if a homeless person applying for assistance is very nearly qualified but does
     not fit all aspects of the chronic homeless definition precisely such as someone who
     wits on the streets for the last 11 months and was also homeless on and off for the
     last several years but not quite fitting either pattern in the definition of chronically
     homeless persons'?

       Qualified homeless persons must meet H U D ' s definition of chronically homeless.
       However, persons who do not quite qualify at the outset of engagement with your
       program for reasons of time may, in fact, be determined eligible once the
       application process, which may take a period of weeks or more, is complete and the
       necessary time has elapsed. The documentation of eligibility must be completed
       before the homeless person enters the program.




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 Technical Guidance: Collecting Necessary Documentation   (cont.j



     Collecting Necessary Documentation

     /.    What is required    in (he way of documentation     of chronic       homelessness?

           For each person applying to the program, written documentation must be provided
           by an appropriate Third Party that verities the person's status as chronically
           homeless. This documentation must be kept in each participant's case record file. A
           recommended template for a Checklist for gathering and analyzing all necessary
           documentation associated with chronic homelessness is provided in this guide.

     2.    What constitutes    an appropriate Third Party for evidencing        the chronic     homeless
           status of persons   applying to our program'?

            Letters may be written and signed by cither homeless shelter providers, homeless
            outreach workers, or other homeless service providers such as Health Care for the
            Homeless. Alternatively, a local Homeless Management Information System
          ' (11M1S) can be called upon to supply a printout of an individual's history in a local
            homeless service continuum. This printout may be substituted for a letter from a
            homeless provider.

     3.    Would a letter from another kind of community-bused          hitman service    agency     suffice
           as evidence of chronic    homelessness?

           In the absence of a homeless service provider who can account for an individual's
           history, letters may be supplied by other human service entities such as food
           pantries, social workers, outreach workers, health workers, law enforcement,
           hospitals, medical clinics, and churches.

     4.    What must letters from appropriate      Third Parties     contain?

           Such Third Party letters and HM1S printouts must be on letterhead stationery and
           contain the full name of the client. Letters must include dates verifying the
           timeframe of homelessness including both a start date and completion date. Letters
           should also be signed by a staff member whose title appears on the letter. It is also
           helpful to request that such letters include information pertaining to the
           whereabouts of the person prior to engaging with this provider and, if applicable,
           after having left. When available, this additional information can be helpful in
           completing the record of the person's homelessness. A recommended template for
           the contents of a Third Party letter is provided in this guide.

     J.    ll'luit if there is a gap in the Third Parly documentation       for which only the     homeless
           person applying to our program can attest?

           In the absence of complete documentation fro in an appropriate Third Party and, ur
           an HiVllS printout, the homeless person may sign a Self-Statement, also known a* a
           personal affidavit, attesting to his/her own whereabouts, history, and chronic
           homelessness status. Such a statement must have the same contents as Third Party
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  Technical Guidance: Collecting Necessary     Documentation   (cant.)



           letters including dates, locations, a signature, and the full name of the homeless
           person. Those who can not write or compose their own letters may dictate them and
           provide their own mark or signature. These Self-Statements should also be signed
           by a staff member who witnessed the person create the document. A recommended
           template for the contents of a Self-Statement is provided in this guide.

      6.   Is a Self-Statement      in and of itself ever sufficient       documentation?

           Generally, Self-Statements are to be used to fill in the gaps in the record of
           homelessness when certain periods of time can not be accounted for and
           documented by a Third Party. If all other efforts to obtain Third Party
           documentation have been exhausted and unsuccessful for a particular person, a
           Self-Statement may be used in the absence of any other documentation. However,
           this should be a relatively rare exception to the composition of most homelessness
           records for your program participants.


      7.   What is the best strategy      for obtaining    documentation    from a Third     Party?

           Many homeless service providers are familiar with requests for letters documenting
           homelessness and may have their own internal form letter for such inquiries.
           However, homeless providers are relatively unfamiliar with the need to capture
           specific dates and the time frame of repeat visits to their program. Therefore, it is
           recommended that these parties be supplied a template letter to ensure the
           documentation is sufficient and consistent. Conducting outreach and training within
           a local homeless service network about chronic homeless documentation may also
           improve upon the readiness of providers to evidence the chronically homeless
           status.

      8.   Can staff members of the organization that sponsors the housing for   chronically
           homeless persons qualify persons themselves based on interna! knowledge    ami
           information    gathering?

           No. The supporting documentation must be provided by an appropriate Third Party.
           However, if a chronically homeless organization is also the provider of a homeless
           service, such as emergency shelter or street outreach, then an authorized staff
           person from the emergency component of the same organization can, in Fact, be
           considered a Third Party and may provide and sign the letter.

      '-). Is it acceptable       to combine multiple letters and Self Statements       to   complete
           documentation         of chronic homelessness   fur one  person?

           Yes. Expect that a record of chronic homelessness will be pieced together from
           several sources including Third Party Letters, HM1S printouts, and Self-Statements.
           Records with multiple sources are most likely to be needed when evidencing four
           episodes of homelessness in three years.




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 Technical Guidance: Collecting N e c e s s a r y Documentation     (cant.)



     10. IVhat if the shelter or homeless provider                organization       submits   letters outlining    the
         person's   history that conflict with one                another?

          A homeless person's file should contain an accurate account of the person's history
          of homelessness. If Third Party Letters conflict with one another, one or more of
          these documents may need clarification. In such cases, a series of communications
          may be required with the parties who are providing the supporting documentation to
          clarify the history. Expectations of staff time needed to complete applications and
          eligibility assessments should reflect this common need for multiple phone calls,
          other communications, and corrections to documents.

     11. What if a homeless person applying to oar program has an accounting          of their
         episodes of homelessness    but can not supply certain pieces of information    on where
         they resided intermittently  between the four   episodes.7

          A homeless person who can not provide complete information about their specific
          whereabouts, such as an address or the name of a homeless shelter, during certain
          parts of their homeless history can explain the lack of information in a Self-
          Statement. The Statement should present the reason for the lack of information,
          such as an illness, that impedes a homeless person's ability to remember the
          missing information.

      12. What if a homeless person does not recollect                  the specific    dates of episodes     of
          homelessness  in their  history?

          1 lomeless persons with conditions and diagnoses that impede their ability to recall
          certain dates related to their history can be assisted in reviewing the chronology of
          their experiences with homelessness and making best guesses at approximate time
          frames and specifics of locations that are their best recollection. The Self-
          Statements in their record should contain these specific dates and locations together
          with an explanation of the reason for the need to approximate this information.

      13. What specific      documentation       is required       to substantiate      a homeless   person    \\
          disability?

          Written documentation to substantiate that a homeless person's disability meets the
          program definition must come from a qualified source such as a credentialcd
          psychiatrist or other professional certified to make such a determination.




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 Chronically Homeless Qualification Checklist                          Page 12


 Chronically Homeless Third Party Verification Sheet                   Page ] 3


  Chronically Homeless Self-Statement Certification                    Page 15


  Chronically Homeless History Summary Sheet                           Page 16
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    Instructions: This suggested checklist may be used as a guide for staff of a program serving chronically homeless
    persons to assure that participants meet program regulation eligibility. It should be accompanied by supporting
    documentation of both disability and homelessness. Together, these documents must be maintained in the client's tile.


Client Name:

H U D defines a Chronically Homeless person as: an unaccompanied homeless person (a single homeless
person who is alone and is not part of a homeless family and not accompanied by children) with:


             P a r t I. A Disabling Condition. Check appropriate           bo.x(es):

                  I [ A diagnosable substance abuse disorder
                  I | A serious mental illness
                  [ ] ] A developmental disability
                  I I A chronic physical illness or disability, including the co-occurrence of two or more
                        of these conditions.

Part I is supported by a letter from a medical professional attesting to the presence of the condition.

                  •    Yes
                  •    No


              Part II. Chronically Homelessness Status. Check ONE:
                  I   I Idas been continuously homeless for a year or more,
                       (HUD tlefuies "homeless " as "a person sleeping in a place noI meant for human habitation   tc g.
                       living an the streets for example) OR living in a homeless emergency shelter.)
                  [~1 Has had four (4) episodes of homelessness in the last three (3) years.
                       (HUD defines "homelessness " as "sleeping in a place not meant for human habitation   (e g living on
                       the streets Jor example OR living in a homeless emergency shelter.)

Part II is supported by Third Party Certification, which includes dates and locations of homelessness.
from one or more of the following: Check ALL that apply


                  n Certification letter(s) from an emergency shelter for the homeless.
                  f~l Certification letter(s) from a homeless service provider or outreach worker.
                  n Certification letter(s) from any other health or human service provider.
                  i~1 Certification Self-Statement signed by the client.

S t a f f Name:                                            Staff Title:

Organization:

Signature:                                                 Date:
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       Instructions: This suggested template may be sent to homeless service providers requesting their verification of
       the chronically homeless status of an individual known to them. This template letter may be copied onto
       letterhead or recreated with the same content and printed oil letterhead.




                                                                                  Date:



. o:




Dear                                      ,

                                       has applied to receive the services of a McKinney-Vento
funded program serving chronically homeless persons. To qualify, the homeless person must be
determined to be chronically homeless as defined by the U.S. Department of Housing and Urban
Development. Please complete this certification and fax it to my attention as soon as possible at
the following fax number: (        )            .

This information will be used for the purpose of determining the chronic homeless status of the
above-named homeless person. If you have any questions please do not hesitate to contact me at
the following telephone number: (          )            .




Sincerely,

                                                                / hereby authorize the release of the requested
 (Signature)                                                       information.


 (Title)                                                        (Signature of Client)




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                                                                                                                                         -•     j—               .—.             ''l:-.                          - -• .                                  1
     l i i . s t r u c l i u u s : This l U m i c l e s s n e s s 1 listory S u m m a r y p r o v i d e s a s u g g e s t e d timeline lo be used b y g r a n t e e s vi ho receive f u n d s f o r p r o g r a m s targeted to c h r o n i c a l l y
                                                                                                                                                                                                                                                              i
     h o m e l e s s persons. Ii m a y be used lo a n a l y z e w h e t h e r or not the c h r o n o l o g y of a liomele s p e r s o n ' s history m e e t s the t i m e f r a m e lor the definition o f c h r o n i c
                                                                                                                                                                                                                                                              i
     homclcssucss.
                                                                                                                                                                                                                                                              I


Client:


                            Ptmc Period                                                                                                       Whereabouts                                                                           ! Documented?
                                  1
 Example: Jan, I, 2005 1                                  5, 2005                                                                 Lifeline Shelter, Cleveland                                                                       j      Yes No

                                                                                                                                                                                                                                            Yes ' No

                                                                                                                                                                                                                                            Yes • No

                                                                                                                                                                                                                                           Ye:. No

                                                                                                                                                                                                                                            Yes No

                                                                                                                                                                                                                                            \ c* No

                         _ . _                                                                                                                                                                                                              Yes No

                                                                                                                                                                                                                                           •Yes No

                                                                                                                                                                                                                                            Yes No

 I'his Miinmurv intlieaies that the client:                                      is chronically homeless                           __ is not chronically homeless,

 Staff Name:                                                                                          Staff Title:

 Oruani/ation:                                                                                        Date:


                                                                                                                                                                                                                                                        If.
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A O 8 8 A ( R e v . 0 2 / 1 4 ) S u b p o e n a to T e s t i f y at a D e p o s i t i o n in a Civil A c t i o n



                                                            UNITED STATES DISTRICT COURT
                                                                                                                   for the
                                                                                             Southern District of Texas
                                                                                                                                           Ixmmrnn.           Q l J A f A ,
                                         Veasey, et al.
                                                                                                                      )
                                                Plaintiff                                                                                  Tlmi
                                                     v,                                                               )      Civil Action No.     2:13-cv-195 (NGR) [Lead Case]
                                                                                                                      )
                                           Perry, et al.
                                                                                                                      )
                                              Defendant

                                             SUBPOENA T O TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:                                                         Reverend Bruce Buchanan
                         The Stewpot, Community Ministries, First Presbyterian Church, 1822 Young Street, Dallas, TX 75201
                                                   (Name ofperson to whom this subpoena is directed)

     fif Testimony: YOU ARE C O M M A N D E D to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:



  Place:                                                                                                                      Date and Time:
                  The Office of the Texas Attorney General, 1412 Main
                                                                                                                                                07/15/2014 9:30 am
                  Street, Suite 810, Dallas, Texas 75202

                The deposition will be recorded by this method:                                                      Stenographic means. The deposition may be videotaped.

          •      Production: You, or your representatives, must also bring with you to the deposition the following documents,
                 electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
                 material:




        The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:                07/07/2014
                                                      CLERK OF COURT
                                                                                                                                 OR
                                                                                                                                                      /s/ John B. Scott
                                                                   Signature of Clerk or Deputy Clerk                                                 Attorney's signature

 The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)                                                               The State of Texas,
  Rick Perry, Texas Secretary of State, and Steve McCraw                                                                              _ w h 0 issues or requests this subpoena, are:
John B. Scott, Deputy Attorney General for Civil Litigation, 209 West 14th Street, P.O. Box 12548, Austin, TX 78711,
John.Scott@t9xasattomeygeneral.gov; (512) 475-0131                                                       —
                                 Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things before
 trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
 whom it is directed. Fed. R. Civ. P. 45(a)(4).
                 Case 2:13-cv-00193 Document 736-4 Filed on 11/17/14 in TXSD Page 35 of 36

A O 8 8 A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)


Civil Action No. 2:13-cv-193 (NGR) [Lead Case]

                                                                      PROOF OF SERVICE
                         (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I r e c e i v e d this s u b p o e n a f o r (name of individual and title, if any)
o n (date)                                  .



             •    I served the subpoena by delivering a copy to the named individual as follows:


                                                                                                   o n (date)                     ; or


             •    1 returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
             tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
             $                               .


My fees are $                                            for travel and $                               for services, for a total of $   0.00



             I declare under penalty of perjury that this information is true.


Date:


                                                                                                           Server's signature



                                                                                                         Printed name and title



                                                                                                            Server's address

Additional information regarding attempted service, etc.:
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       J.        -J



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